      Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 1 of 10




                       IN THE UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


ELIZABETH ESCOBEDO, Individually and                                           PLAINTIFF
on Behalf of all Others Similarly Situated


vs.                                   No. 4:22-cv-538


ACE GATHERING, INC.                                                          DEFENDANT


                   ORIGINAL COMPLAINT—COLLECTIVE ACTION


       Plaintiff Elizabeth Escobedo (“Plaintiff”), individually and on behalf of all others

similarly situated, by and through her attorneys Merideth Q. McEntire and Josh Sanford

of Sanford Law Firm, PLLC, for her Original Complaint—Collective Action against

Defendant Ace Gathering, Inc. (“Defendant”), states and alleges as follows:

                          I.   PRELIMINARY STATEMENTS

       1.     Plaintiff brings this action under the Fair Labor Standards Act, 29 U.S.C. §

201, et seq. (“FLSA”), for declaratory judgment, monetary damages, liquidated damages,

prejudgment interest and costs, including reasonable attorneys’ fees as a result of

Defendants’ failure to pay Plaintiff and other similarly situated employees lawful overtime

compensation for hours worked in excess of forty hours per week.

       2.     Upon information and belief, during the time period relevant to this

Complaint, Defendants have willfully and intentionally committed violations of the FLSA

as described, infra.




                                            Page 1 of 10
                         Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                             U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                              Original Complaint—Collective Action
     Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 2 of 10




                            II.     JURISDICTION AND VENUE

       3.      The United States District Court for the Southern District of Texas has

subject matter jurisdiction over this suit under the provisions of 28 U.S.C. § 1331 because

this suit raises federal questions under the FLSA.

       4.      Defendant is headquartered in Katy. Therefore, venue is proper within this

District pursuant to 28 U.S.C. § 1391.

                                    III.     THE PARTIES

       5.      Plaintiff is an individual and resident of Medina County.

       6.      Defendant is domestic, for-profit company.

       7.      Defendant’s registered agent for service of process is C T Corporation

System at 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

       8.      Defendant, in the course of business, maintains a website at

https://www.aceenergysolutions.com/home-page.

                              IV.      FACTUAL ALLEGATIONS

       9.      Plaintiff repeats and realleges all the preceding paragraphs of this

Complaint as if fully set forth in this section.

       10.     Defendant’s primary business involves purchasing and delivering crude oil.

       11.     Defendants acted jointly as the employer of Plaintiff and the proposed

collective and have been engaged in interstate commerce as that term is defined under

the FLSA.

       12.     During each of the three years preceding the filing of this Complaint,

Defendant employed at least two individuals who were engaged in interstate commerce

or in the production of goods for interstate commerce, or had employees handling, selling,

                                              Page 2 of 10
                           Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                               U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                                Original Complaint—Collective Action
       Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 3 of 10




or otherwise working on goods or materials that had been moved in or produced for

commerce by any person, such as vehicles and fuel.

        13.   Defendant’s annual gross volume of sales made or business done was not

less than $500,000.00 (exclusive of exercise taxes at the retail level that are separately

stated) during each of the three calendar years preceding the filing of this Complaint.

        14.   Plaintiff was employed by Defendants as a Crude Hauler from December of

2018 until January of 2022.

        15.   Within the time period relevant to this case, Defendant also employed other

Crude Haulers.

        16.   At all relevant times herein, Defendant directly hired Crude Haulers to work

at its facilities and job sites, paid them wages and benefits, controlled their work

schedules, duties, protocols, applications, assignments and employment conditions, and

kept at least some records regarding their employment.

        17.   Plaintiff was classified by Defendant as exempt from the overtime

requirements of the FLSA and paid a salary.

        18.   Other Crude Haulers were also classified as exempt from the overtime

requirements of the FLSA and paid a salary.

        19.   As a Crude Hauler, Plaintiff was primarily responsible for transporting crude

oil.

        20.   Other Crude Haulers had the same or similar job duties as Plaintiff.

        21.   At all times material herein, Plaintiff and other Crude Haulers have been

entitled to the rights, protection and benefits provided under the FLSA.




                                            Page 3 of 10
                         Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                             U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                              Original Complaint—Collective Action
     Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 4 of 10




       22.    Plaintiff regularly worked in excess of forty hours per week throughout her

tenure with Defendant.

       23.    Other Crude Haulers regularly or occasionally worked in excess of forty

hours per week throughout their tenure with Defendant.

       24.    Defendant did not pay Plaintiff and other salaried Crude Haulers 1.5 times

their regular hourly rate for hours worked over 40 each week.

       25.    Plaintiff and other Crude Haulers never agreed that their salary would be

sufficient to cover all hours worked.

       26.    In performing their services for Defendants, Plaintiff and other Crude

Haulers were not required to utilize any professional education relevant to their job duties.

       27.    Plaintiff and other Crude Haulers were classic blue-collar workers, spending

physical, demanding, long shifts working on and with machinery, and not in an office.

       28.    During the course of their employment, Plaintiff and other Crude Haulers

did not manage the enterprise or a customarily recognized subdivision of the enterprise.

       29.    Plaintiff and other Crude Haulers did not select any employees for hire or

fire, nor did they provide any training for any employee.

       30.    Plaintiff and other Crude Haulers did not have any control of or authority

over any employee’s rate of pay or working hours.

       31.    Plaintiff and other Crude Haulers did not maintain or prepare production

reports or sales records for use in supervision or control of the business.

       32.    Similarly, Plaintiff and other Crude Haulers did not have any responsibility

for planning or controlling budgets.




                                             Page 4 of 10
                          Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                              U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                               Original Complaint—Collective Action
     Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 5 of 10




       33.       The duties of Plaintiff and other Crude Haulers were rote and routine, and

they sought input from supervisors when their duties were not rote or routine.

       34.       In carrying out their duties, Plaintiff and other Crude Haulers followed the

processes put in place by Defendant and others.

       35.       In the course of her duties, Plaintiff did not leave the state of Texas.

       36.       Upon information and belief, other Crude Haulers also performed their

duties within the state of Texas and did not enter other states.

       37.       Upon information and belief, Defendant’s pay practices were the same at

all locations.

       38.       Defendant assigned Plaintiff and other Crude Haulers so much work that

they were unable to complete the assigned work in less than 40 hours per week.

       39.       Defendant knew, or showed reckless disregard for whether, the way it paid

Plaintiff and other Crude Haulers violated the FLSA.

                 V.     REPRESENTATIVE ACTION ALLEGATIONS

       40.       Plaintiff repeats and realleges all previous paragraphs of this Complaint as

though fully incorporated in this section.

       41.       Plaintiff brings this claim for relief for violation of the FLSA as a collective

action pursuant to Section 16(b) of the FLSA, 29 U.S.C. § 216(b), on behalf of all persons

similarly situated who were, are, or will be employed by Defendant within the relevant

time period, who are entitled to payment of the following types of damages:

       A.        Overtime wages for all hours worked over forty hours in any week;

       B.        Liquidated damages; and

       C.        Attorney’s fees and costs.

                                                Page 5 of 10
                             Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                                 U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                                  Original Complaint—Collective Action
     Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 6 of 10




         42.   Plaintiff proposes the following collective under the FLSA:

                All salaried Crude Haulers within the past three years.

         43.   In conformity with the requirements of FLSA Section 16(b), Plaintiff has filed

or will soon file a written Consent to Join this lawsuit.

         44.   The relevant time period dates back three years from the date on which

Plaintiff’s Original Complaint—Collective Action was filed herein and continues forward

through the date of judgment pursuant to 29 U.S.C. § 255(a), except as set forth herein

below.

         45.   The members of the proposed FLSA collective are similarly situated in that

they share these traits:

         A.    They were classified by Defendant as salaried employees, exempt from the

overtime requirements of the FLSA;

         B.    They were subject to Defendant’s common policy and practice of failing to

pay them an overtime premium for hours worked over forty in a week;

         C.    They regularly worked over forty hours in a week; and

         D.    They had the same or substantially similar job duties and responsibilities.

         46.   Plaintiff is unable to state the exact number of the collective but believe that

the collective exceeds fifty persons.

         47.   Defendant can readily identify the members of the collective, who are a

certain portion of the current and former employees of Defendant.

         48.   The names and physical and mailing addresses of the probable FLSA

collective action plaintiffs are available from Defendant.




                                              Page 6 of 10
                           Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                               U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                                Original Complaint—Collective Action
     Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 7 of 10




       49.     The email addresses of many of the probable FLSA collective action

plaintiffs are available from Defendant.



                            VI.    FIRST CLAIM FOR RELIEF
                         (Individual Claim for Violation of FLSA)

       50.     Plaintiff repeats and realleges all the preceding paragraphs of this Original

Complaint as if fully set forth in this section.

       51.     29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay a minimum wage for all hours worked up to 40 each week and to pay 1.5 times regular

wages for all hours worked over 40, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying DOL regulations.

       52.     Defendant misclassified Plaintiff as exempt from the overtime requirements

of the FLSA.

       53.     Defendant deprived Plaintiff of overtime compensation for all of the hours

worked over forty per week in violation of the FLSA.

       54.     Defendant’s conduct and practice, as described above, is and has been at

all times relevant hereto, willful, intentional, unreasonable, arbitrary and in bad faith.

       55.     By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff

for monetary damages, liquidated damages and costs, including reasonable attorney’s

fees provided by the FLSA for all violations which occurred beginning in January of 2020,

plus periods of equitable tolling.

       56.     Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiff as provided by the FLSA, Plaintiff is entitled to an award of

prejudgment interest at the applicable legal rate.
                                              Page 7 of 10
                           Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                               U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                                Original Complaint—Collective Action
     Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 8 of 10




                          VII.  SECOND CLAIM FOR RELIEF
                    (Collective Action Claim for Violation of FLSA)

        57.   Plaintiff repeats and realleges all the preceding paragraphs of the Original

Complaint above, as if fully set forth herein.

        58.   29 U.S.C. §§ 206 and 207 require any enterprise engaged in commerce to

pay a minimum wage for all hours worked up to 40 each week and to pay 1.5 times regular

wages for all hours worked over 40, unless an employee meets certain exemption

requirements of 29 U.S.C. § 213 and all accompanying DOL regulations.

        59.   Defendant misclassified Plaintiff and similarly situated employees as

exempt from the overtime requirements of the FLSA.

        60.   Defendant required Plaintiff and similarly situated employees to work in

excess of forty hours each week but failed to pay Plaintiff and the similarly situated

employees overtime compensation for all of the hours in excess of forty in each

workweek.

        61.   Defendant deprived Plaintiff and other similarly situated employees

overtime compensation for all of the hours worked over forty per week in violation of the

FLSA.

        62.   Defendant’s conduct and practice, as described above, were willful,

intentional, unreasonable, arbitrary and in bad faith.




                                             Page 8 of 10
                          Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                              U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                               Original Complaint—Collective Action
     Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 9 of 10




       63.      By reason of the unlawful acts alleged herein, Defendant is liable to Plaintiff

and similarly situated employees for monetary damages, liquidated damages and costs,

including reasonable attorney’s fees provided by the FLSA.

       64.      Alternatively, should the Court find that Defendant acted in good faith in

failing to pay Plaintiff and similarly situated employees as provided by the FLSA, Plaintiff

and similarly situated employees are entitled to an award of prejudgment interest at the

applicable legal rate.

                              VIII.   PRAYER FOR RELIEF

       WHEREFORE, premises considered, Plaintiff Elizabeth Escobedo, individually

and on behalf of all others similarly situated, respectfully prays for relief and damages as

follows:

       A.       That Defendant be summoned to appear and answer herein;

       B.       That Defendant be required to account to Plaintiff, the collective members,

and the Court for all of the hours worked by Plaintiff and the collective members and all

monies paid to them;

       C.       A declaratory judgment that Defendant’s practices alleged herein violate the

Fair Labor Standards Act, 29 U.S.C. § 201, et seq., and attendant regulations at 29 C.F.R.

§ 516, et seq.;

       D.       Certification of, and proper notice to, together with an opportunity to

participate in the litigation, all qualifying current and former employees;

       E.       Judgment for damages for all unpaid overtime compensation under the Fair

Labor Standards Act, 29 U.S.C. § 201, et seq., and attendant regulations at 29 C.F.R. §

516, et seq.;

                                              Page 9 of 10
                           Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                               U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                                Original Complaint—Collective Action
      Case 4:22-cv-00538 Document 1 Filed on 02/18/22 in TXSD Page 10 of 10




       F.     Judgment for liquidated damages pursuant to the Fair Labor Standards Act,

29 US.C. § 201, et seq., and attendant regulations at 29 C.F.R. § 516, et seq., in an

amount equal to all unpaid overtime compensation owed to Plaintiff and members of the

collective during the applicable statutory period;

       G.     An order directing Defendant to pay Plaintiff and members of the collective

prejudgment interest, reasonable attorney’s fees and all costs connected with this action;

and

       H.     Such other and further relief as this Court may deem just and proper.

                                                     Respectfully submitted,

                                                     ELIZABETH ESOCBEDO, Individually
                                                     and on behalf of All Others
                                                     Similarly Situated, PLAINTIFF

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                                           Page 10 of 10
                         Elizabeth Escobedo, et al. v. Ace Gathering, Inc.
                             U.S.D.C. (S.D. Tex.) Case No. 4:22-cv-538
                              Original Complaint—Collective Action
